Fill in this information to identify the case:

Debtor 1              Daryl Frank Swartz

Debtor 2              Elaine Renee Swartz
(Spouse, if filing)

United States Bankruptcy Court for the : Middle                   District of Pennsylvania
                                                                             (State)

Case number           1:19-bk-01790-HWV



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                               12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:             M & T Bank                                          Court claim no. (if known):         4

Last four digits of any number you                XXXXXX9888                      Date of payment change:
use to identify the debtors’ account:                                             Must be at least 21 days after date of             2/1/2022
                                                                                  this notice

                                                                                  New total payment:
                                                                                  Principal, interest, and escrow, if any            $874.88

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtors’ escrow account payment?
        No
        Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
          for the change. If a statement is not attached, explain why: __________________________________________________________
          ___________________________________________________________________________________________________
           Current escrow payment:          $ 311.47                                      New escrow payment :            $ 275.05

Part 2:         Mortgage Payment Adjustment

2.     Will the debtors’ principal and interest payment change based on an adjustment to the interest rate in the debtors’
       variable-rate account?
        No
        Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
          explain why: ___________________________________

             Current interest rate:                       %                               New interest rate:          %

             Current principal and interest payment:      $ _________                     New principal and interest payment:         $ __________

Part 3:         Other Payment Change
3.   Will there be a change in the debtors’ mortgage payment for a reason not listed above?
      No
      Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)


           Reason for change: ____________________________________________________________________________


           Current mortgage payment:               $ _________                            New mortgage payment:             $ _________




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 Debtor 1            Daryl Frank Swartz                                             Case number (if known) 1:19-bk-01790-HWV
                    First Name Middle Name    Last Name


Part 4:         Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.
X    /s/Dane Exnowski                                                                  Date     12/22/2021
     Signature

Print:         Dane                                             Exnowski               Title   Authorized Agent for Creditor
               First Name            Middle Name                Last Name

Company        McCalla Raymer Leibert Pierce, LLC

Address        1544 Old Alabama Road
               Number      Street
               Roswell                       GA                  30076
               City                          State               ZIP Code

Contact phone      562-661-5060                                                        Email    Dane.Exnowski@mccalla.com




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                                                       Bankruptcy Case No.: 1:19-bk-01790-
                                                                           HWV
 In Re:                                                Chapter:             13
          Daryl Frank Swartz                           Judge:               Henry W. Van Eck
          Elaine Renee Swartz

                                   CERTIFICATE OF SERVICE

      I, Dane Exnowski, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, GA 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within NOTICE OF
MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Daryl Frank Swartz
14146 Lower Horse Valley Road
Orrstown, PA 17244

Elaine Renee Swartz
14146 Lower Horse Valley Road
Orrstown, PA 17244

Lawrence V. Young                              (served via ECF Notification)
CGA Law Firm
135 North George Street
York, PA 17401

Jack N Zaharopoulos (Trustee)          (served via ECF Notification)
Standing Chapter 13 Trustee
8125 Adams Drive, Suite A
Hummelstown, PA 17036

Asst. U.S. Trustee                             (served via ECF Notification)
United States Trustee
228 Walnut Street, Suite 1190
Harrisburg, PA 17101




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     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Executed on:   12/28/2021    By:   /s/Dane Exnowski
                (date)             Dane Exnowski
                                   Authorized Agent for Creditor




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